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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     UNITED STATES OF AMERICA,                           Case No. 20-cr-00266-JST-1
                                                         Plaintiff,
                                   8
                                                                                             ORDER GRANTING JOINT MOTION
                                                  v.                                         TO FILE CERTAIN ADMITTED
                                   9
                                                                                             TRIAL EXHIBITS IN REDACTED
                                  10     MICHAEL BRENT ROTHENBERG,                           FORM AND/OR UNDER SEAL
                                                         Defendant.                          Re: ECF No. 354
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The United States of America and the Defendant Michael Brent Rothenberg, by and

                                  14   through their respective undersigned counsel move to file certain trial exhibits under seal. ECF

                                  15   No. 354. The Court grants the motion.

                                  16          Copies of the admitted Trial Exhibits listed below in Section I “contain limited redactions

                                  17   pertaining to confidential personal contact information (such as telephone numbers and email

                                  18   addresses) of the defendant and testifying witnesses and/or other confidential private information.”

                                  19   ECF No. 354 at 2. Copies of the Trial Exhibits listed below in Section II are to be filed under seal

                                  20   because they “contain detailed financial information (including financial information related to

                                  21   alleged victims and non-parties), a voluminous amount of financial account numbers, and/or other

                                  22   private information.” Id. As the parties note, “a less restrictive alternative to sealing is not

                                  23   sufficient because of the volume and/or size of the Trial Exhibits make redaction impractical.” Id.

                                  24          Within seven days of the date of this order, the parties shall electronically file all exhibits,

                                  25   including the redacted copies of the documents in Section I, and those that have been sealed. If the

                                  26   file size of any document exceeds the upload limit, the parties may file such documents with the

                                  27   Clerk through the submission of a USB drive or similar drive accompanied by a Manual Filing

                                  28   Notification.
                                       Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 2 of 16




                                   1   I.        Redacted Trial Exhibits

                                   2    TRIAL
                                                                           DESCRIPTION OF REDACTED EXHIBIT
                                   3   EXHIBIT

                                   4              Rothenberg Ventures 2016 Fund, L.P. - Wiring instructions, Summary of Principal
                                            26    Terms, Amended and Restated Limited Partnership Agreement, and Subscription
                                   5              Agreement and Investor Questionnaire

                                   6               11/23/2015 email from Lynne McMillan to Mike Rothenberg, cc: Tom Leep re:
                                         149
                                                   “Year End Transactions,” with attachment
                                   7
                                         150       12/17/2015 email from Lynne McMillan to Mike Rothenberg re: “[Priority] Cash”
                                   8

                                   9               12/23/2015 email from Lynne McMillan to Mike Rothenberg re: “UPDATED :
                                         152
                                                   Cash”
                                  10
                                                   12/23/2015 to 12/29/2015 email chain involving Rothenberg, Judy Lee, Frank
                                  11     159
                                                   Amoroso, and others
                                  12     163       12/24/2015 email from Mike Rothenberg to Lynne McMillan re: “SVB Transfers”
Northern District of California
 United States District Court




                                  13
                                                   12/28/2015 to 12/29/2015 email chain between Mike Rothenberg and Lynne
                                         164
                                  14               McMillan re: “My proposal”

                                  15               12/30/2015 email from Judy Lee to Mike Rothenberg and Lynne McMillan, cc:
                                         173
                                                   Frank Amoroso and others re: “Rothenberg Ventures / SVB LoC (Secured by cash)”
                                  16
                                                   10/9/2015 email from David Frank to Dominic Polizzotto and Lawrence Weisman
                                  17     188
                                                   re: “Mike Rothenberg…”, with attachment
                                  18
                                                   11/9/2015 email from David Frank to Dominic Polizzotto and Lawrence Weisman
                                         189
                                  19               re: “Subject: Meet Mike Rothenberg…,” with attachment

                                  20               11/30/2015 email from David Frank to Lawrence Weisman re: “Meet Mike
                                         190
                                                   Rothenberg . . .”, with attachment
                                  21
                                                   12/1/2015 email chain involving Katie Fanelli, Lawrence Weisman, David Frank, re:
                                  22     191
                                                   “Larry Weisman/Mike Rothenberg (Meeting …)”
                                  23
                                                   1/5/2016 to 1/6/2016 email chain involving David Frank, Domonic Polizzotto, Larry
                                  24     192       Weisman, Georgia Kinne, and Mike Rothenberg re: “Mike Rothenberg in Vegas for
                                                   CES this week”
                                  25
                                                   1/5/2016 to 1/6/2016 email chain involving David Frank, Domonic Polizzotto, Larry
                                  26     193       Weisman, Georgia Kinne, and Mike Rothenberg re: “Mike Rothenberg in Vegas for
                                  27               CES this week”

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                                       Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 3 of 16




                                        TRIAL
                                   1                                   DESCRIPTION OF REDACTED EXHIBIT
                                       EXHIBIT
                                   2             1/7/2016 email chain involving Katie Fanelli, David Frank, Dominic Polizzotto,
                                   3     194     Lawrence Weisman, and Georgia Kinne re: “Mike Rothenberg in Vegas for CES this
                                                 week”
                                   4
                                                 1/7/2016 email from David Frank to Dominic Polizzotto/Lawrence (Larry) Weisman
                                         195
                                   5             re: “Subject: River deck”, with attachment
                                   6             1/13/2016 email from Dominic Polizzotto to Mike Rothenberg, cc: David Frank and
                                         197
                                   7             Lawrence Weisman re: “River Studios follow up”

                                   8             1/27/2016 to 1/28/2016 email chain involving Lawrence Weisman, Tommy Leep,
                                         198     David Frank, Mike Rothenberg, Katie Fanelli, Dominic Polizzotto, and others re:
                                   9             “Pilot Grove's visit to River Studios for Super Bowl Week”
                                  10             2/4/2016 memo from Larry Weisman to Dominic Polizzotto and File re: “Visits to
                                         200
                                                 River Studios/Rothenberg Ventures”
                                  11

                                  12             2/5/2016 email from Dominic Polizzotto to Mike Rothenberg and others re:
                                         201
Northern District of California




                                                 “SuperBowl week VIP events . . .”
 United States District Court




                                  13
                                                 2/17/2016 email from Mike Rothenberg to Dominic Polizzotto to Lawrence
                                  14     202     Weisman re: “River Studios follow up”, with attachment (River Studios Diligence
                                                 List - Pilot Grove)
                                  15
                                                 2/17/2016 email from Mike Rothenberg to Dominic Polizzotto and Larry Weisman,
                                  16
                                         203     cc: David Frank re: “River Studios - Complete Diligence”, attaching convertible
                                  17             note, investor presentation, and terms

                                  18             2/17/2016 email from Mike Rothenberg to Dominic Polizzotto and Larry Weisman,
                                         205     cc: David Frank re: “River Studios - Complete Diligence”, attaching convertible
                                  19             note, investor presentation, and terms
                                  20
                                                 2/18/2016 email from Mike Rothenberg to Lawrence Weisman, cc: Dominic
                                         209
                                  21             Polizzotto re: “Documents”, attaching Word version of convertible promissory note

                                  22             2/19/2016 email from Lawrence Weisman to Mike Rothenberg, cc: Dominic
                                         210
                                                 Polizzotto re: “Bend Reality Promissory Note.docx”, attaching Word documents
                                  23
                                                 2/22/2016 email chain involving Mike Rothenberg, Lawrence Weisman, Dominic
                                  24     211     Polizzotto, and Martin Mayo re: “Latest Version of Note”, attaching draft of
                                  25             convertible promissory note

                                  26             2/24/2016 email chain between Lawrence Weisman and Mike Rothenberg re: “River
                                         214
                                                 Studios - Financials”
                                  27

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                                                                                  3
                                       Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 4 of 16




                                        TRIAL
                                   1                                  DESCRIPTION OF REDACTED EXHIBIT
                                       EXHIBIT
                                   2             3/28/2016 email from David Frank to Lawrence Weisman and Dominic Polizzotto
                                         221
                                   3             re: “Update on Rothenberg Ventures . . .”

                                   4             4/1/2016 email from David Frank to Lawrence Weisman and Dominic Polizzotto re:
                                         222
                                                 “We are fully allocated on 100M of the fund . . .”
                                   5
                                                 8/13/2016 email chain involving Mike Rothenberg, Dominic Polizzotto, Lawrence
                                   6     235
                                                 Weisman, and others re: “Pilot Grove / River Studios”
                                   7
                                                 8/16/2016 email from Lawrence Weisman to Mike Rothenberg, cc: Dominic
                                         236
                                   8             Polizzotto and Martin Mayo re: “Amendment”

                                   9             5/2/2016 to 5/26/2016 email chain involving Mike Rothenberg, Mike Foley, and
                                         250
                                                 others re: “Any update on the round?”
                                  10
                                                 5/26/2016 to 6/15/2016 email chain involving Mike Rothenberg, Mike Foley, Katie
                                  11     251
                                                 Fanelli, and others re: “Any updated on the round?”
                                  12
Northern District of California




                                                 6/17/2016 to 6/30/2016 email chain involving Mike Rothenberg, Mike Foley, and
 United States District Court




                                         253
                                  13             Tony Garcia re: “Unity intro”

                                  14             6/30/2016 to 7/1/2016 email chain involving Mike Rothenberg, Mike Foley, and
                                         254
                                                 others re: “Unity / Rothenberg Ventures”
                                  15
                                                 7/21/2016 email from Nan Kim at Unity to Martin Mayo, Mike Rothenberg, and
                                  16     256
                                                 others re: “Moving forward”, attaching draft stock transfer agreement
                                  17
                                                 8/15/2016 email from Mike Foley to Mike Rothenberg, cc: various people re:
                                         257
                                  18             “Moving forward”

                                  19             8/18/2016 email from Mike Rothenberg to Mike Foley, cc: various people re: “Unity
                                         258
                                                 - Riccitiello Secondary Call”
                                  20
                                         259     9/1/2018 email from Mike Rothenberg to Mike Foley re: “Moving forward”
                                  21

                                  22             7/13/2016 email from Mike Rothenberg to Justin Grooms, Brandon Farwell, and
                                         260
                                                 others cc: Katie Fanelli and others re: “Unity Co-invest presentation”
                                  23
                                                 7/13/2016 email from Justin Grooms to Theo Melas-Kyriazi, cc: Brandon Farwell,
                                  24     262
                                                 re” “Rothenberg Ventures 2016 Fund - Co-Invest Opportunity”
                                  25             7/14/2016 email from Justin Grooms to Theo Melas-Kyriazi, cc: Brandon Farwell,
                                  26     264     John Melas-Kyriazi and others re: “Rothenberg Ventures 2016 Fund - Co-Invest
                                                 Opportunity - Details”, with Summary of Principal Terms and PowerPoint deck
                                  27

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                                       Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 5 of 16




                                        TRIAL
                                   1                                   DESCRIPTION OF REDACTED EXHIBIT
                                       EXHIBIT
                                   2             7/13/2016 to 7/15/2016 email chain involving Mike Rothenberg and Theo Melas-
                                         266
                                   3             Kyriazi re: “Unity Co-Invest”

                                   4             7/15/2016 memo from Theo Melas-Kyriazi to Fidelity Investments re: “Wire transfer
                                         267
                                                 request”
                                   5
                                                 8/18/2016 email from Theo Melas-Kyriazi to Mike Rothenberg, Justin Grooms,
                                   6     270     Brandon Farwell re: “Rothenberg Ventures 2016 Fund - Co-Invest Opportunity -
                                   7             Details”

                                   8             Email chain ending 8/19/2016 involving Mike Rothenberg, Theo Melas-Kyriazi,
                                         271
                                                 John Melas-Kyriazi, Justin Grooms, Brandon Farwell, and others re: “Unity”
                                   9
                                                 8/22/2016 to 8/23/2016 email chain involving Mike Rothenberg, Theo Melas-
                                  10     273     Kyriazi, John Melas-Kyriazi, and Brandon Farwell re: “Return of funds // confirming
                                                 tomorrow's call”
                                  11

                                  12             8/24/2016 email from Theo Melas-Kyriazi to Mike Rothenberg, cc: John Melas-
                                         276
Northern District of California




                                                 Kyriazi and others re: “GHF, Inc. adv. Rothenberg”
 United States District Court




                                  13
                                                 Robinhood records regarding sale of Robinhood stock by 2013 Fund to Thrive
                                  14     285     Capital Partners funds (i.e., Thrive Capital Partners V, LP and Claremont V
                                                 Associates, LP)
                                  15
                                                 7/12/2016 to 8/7/2016 email chain involving Nathan Hudson, Justin Grooms, Mike
                                  16
                                         291     Rothenberg, and others re: “Rothenberg Ventures 2016 Fund - Co-Invest
                                  17             Opportunity”

                                  18             7/14/2016 to 7/17/2016 email chain involving Alexa Binns, Justin Grooms, and
                                         299     Mike Rothenberg re: “Subject: Re: Rothenberg Ventures 2016 Fund - Co-Invest
                                  19             Opportunity”
                                  20
                                         301     Rothenberg Ventures Unity Co-Fund slide deck received by Binns, dated July 2016
                                  21
                                         317     Text message
                                  22
                                         318     Text message string between Ewan Johnson and 14157746468
                                  23
                                         320     7/15/2016 email from Justin Grooms to Ewan Johnson, cc: Martin Mayo re: “Unity”
                                  24
                                         321     Unity PowerPoint Deck
                                  25

                                  26             7/14/2016 email from Justin Grooms to Ron Goldberg re: “Rothenberg Ventures
                                         328     2016 Fund - Co-Invest Opportunity”, attaching PowerPoint deck and Summary of
                                  27             Principal Terms

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                                        TRIAL
                                   1                                   DESCRIPTION OF REDACTED EXHIBIT
                                       EXHIBIT
                                   2             9/10/2016 email from Lena Goldberg to Mike Rothenberg re: “Rothenberg Ventures
                                         335
                                   3             - Unity Co-Invest”

                                   4             3/23/2016 email from Dave Haase to Mike Rothenberg and Hannah Han re: “Super
                                         343
                                                 Bowl receipt”
                                   5
                                                 4/11/2016 email from Dave Haase to Mike Rothenberg re: “File”, attaching
                                   6     344
                                                 spreadsheet
                                   7
                                                 6/3/2016 email from David Haase to Martin Mayo and Amanda, cc: Mike
                                         348
                                   8             Rothenberg re: “New Accounts”, setting out “Legal Entity Structure”

                                   9             4/4/2015 Email from Mike Rothenberg to Brandon Farwell with Subject:
                                         371
                                                 Rothenberg Ventures 2015, attaching slide deck
                                  10
                                                 Rothenberg Ventures 2015 Fund, Summary of Principal Terms, Confidential Private
                                  11     373     Offering Memorandum, Amended and Restated Operating Agreement of Rothenberg
                                  12             Ventures 2015 Fund LLC, Amended and Restated Management Agreement
Northern District of California
 United States District Court




                                  13             6/1/2015 email from Mike Rothenberg to to Mike Rothenberg, addressed to “Dear
                                         375     Founders and LPs,” cc: Tommy Leep, Brandon Farwell, and others re: “Rothenberg
                                  14             Ventures in the media”, discussing Bloomberg article
                                  15             6/15/2015 email from Mike Rothenberg to Brandon Farwell, Tommy Leep and
                                         376
                                                 others re: “jake and kevin”
                                  16

                                  17             7/9/2015 email from Mike Rothenberg to Darrin Woo, cc: Brandon Farwell and
                                         377     others re: “Darrin (WHF Group) and Rothenberg Ventures”, discussing independent
                                  18             funding of Bend Reality
                                  19             2/2/2016 email chain involving Mike Rothenberg and Lynne McMillan re:
                                         404
                                                 “Transfers”
                                  20

                                  21             3/11/2016 email chain involving Mike Rothenberg, Lynne McMillan, Tom Leep,
                                       405[A]    and others [redacted version shown to the jury during trial and admitted into
                                  22             evidence]

                                  23             3/11/2016 email chain involving Mike Rothenberg, Lynne McMillan, Tom Leep,
                                       405[B]
                                                 and others [unredacted version provided to the jury at the close of the evidence]
                                  24
                                                 Email chain ending 11/18/2015 from Pascal Levensohn to Andrew Krowne with
                                  25     412
                                                 Subject: FW: Following UP, forwarding investment documents sent by Katie Fanelli
                                  26
                                                 Email chain ending 12/14/2015 from Pascal Levensohn to Andrew Krowne with
                                         415
                                  27             Subject: Fwd: Following UP, forwarding email from Mike Rothenberg re: fund

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                                       Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 7 of 16




                                        TRIAL
                                   1                                  DESCRIPTION OF REDACTED EXHIBIT
                                       EXHIBIT
                                   2             Email chain ending 12/15/2015 from Neil Devani to Pascal Levensohn and cc'ing
                                   3     416     Mike Rothenberg, Katie Fanelli, and others with Subject: Re: “Following UP”,
                                                 attaching documents
                                   4
                                                 Email chain ending 12/15/2015 from Pascal Levensohn to Neil Devani and cc'ing
                                   5     419     Mike Rothenberg, Katie Fanelli, and others with Subject: Re: Following UP,
                                                 attaching documents
                                   6

                                   7             Email chain ending 2/17/2016 from Katie Fanelli to Pascal Levensohn and cc'ing
                                         421
                                                 Mike Rothenberg with Subject Re: Rothenberg Ventures 2016 Fund
                                   8
                                                 Email chain ending 4/20/2016 from Geoff Rapoport to Mike Rothenberg, Tom Leep,
                                   9     424     and Dave Haase with Subject: Fwd: Dolby / Rothenberg Ventures -follow up,
                                                 attaching re-signed subscription documents
                                  10
                                                 Email chain ending 8/23/2016 from Pascal Levensohn to Andrew Krowne with
                                  11     429
                                                 Subject: FW: Rothenberg Ventures LP Update Letter #2
                                  12
Northern District of California




                                                 Email chain w/ Mike Rothenberg, John Melas-Kyriazi re questions about the 2015
 United States District Court




                                         437
                                  13             Fund and Mike sending John a 2015 Fund term sheet. Dated 4/14/2015

                                  14             4/22/2015 to 4/29/2015 email chain w/ Mike Rothenberg, Theo and John Melas-
                                         439
                                                 Kyriazi, and others re Mike thanking Theo and John for their investment
                                  15
                                                 4/22/2015 to 5/27/2015 email chain involving Mike Rothenberg, John and Theo
                                  16
                                         442     Melas Kyriazi and others re: “Re: GHF Inc. Investment in Rothenberg Ventures
                                  17             2015 Fund” w/ Attached signed agreement by Theo Melas-Kyriazi

                                  18             Email chain ending 7/23/2015 involving Dylan Flinn, Praveen Gupta, cced Michael
                                         449     Rothenberg and others, discusses VR, and update on 2015 Fund, etc., response from
                                  19             Gupta about meeting, then Henry Pfirrmann not meeting 7/23/2015
                                  20
                                                 8/10/2015 email from Gupta to Neil Devani and Michael Rothenberg, signed
                                         451
                                  21             documents attached for investment in Fund 2015

                                  22             4/6/2015 Email from RightSignature.com to Michael Antonov with Subject:
                                         457
                                                 Document Rothenberg_fund.pdf is complete
                                  23
                                         458     4/2/15 Email from Moore to Antonov, with attachment
                                  24
                                                 4/29/2015 Email from Mike Rothenberg to Michael Antonov cc'ing Neil Devani
                                  25     459
                                                 with Subject: Re: Rothenberg Ventures 2015 Fund
                                  26
                                                 4/7/2015 Email from Mike Rothenberg to Michael Antonov with Subject: Thank
                                         461
                                  27             you!, attaching deck re Rothenberg Ventures 2015 Fund Closing: April 24, 2015

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                                       Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 8 of 16




                                        TRIAL
                                   1                                   DESCRIPTION OF REDACTED EXHIBIT
                                       EXHIBIT
                                   2             10/27/2015 Email from Neil Devani to CY Capital cc'ing Katie Fanelli, Lynne
                                   3     464     McMillan and Mike Rothenberg with Subject: Rothenberg Ventures and CY Capital,
                                                 attaching 2016 Fund Term Sheet and Rothenberg Ventures Presentation
                                   4
                                                 12/14/2015 Email from Neil Devani to Mike Rothenberg cc'ing CY Capital, Katie
                                   5     466     Fanelli, and Lynne McMillan with Subject: Re: Rothenberg Ventures and CY
                                                 Capital, attaching 2016 Fund Full Reference Documents and Signature Packet
                                   6

                                   7             12/20/2015 through 12/22/2015 Email chain from Lynne McMillan to CY Capital
                                         470     cc'ing CY Capital, Katie Fanelli, Mike Rothenberg, and Neil Devani with Subject:
                                   8             Re: Rothenberg Ventures and CY Capital

                                   9             2/17/2016 to 2/18/2016 Email Chain from Katie Fanelli to CY Capital cc'ing Mike
                                         471     Rothenberg with Subject: Re: Rothenberg Ventures - updates - please include group
                                  10             controller for capital calls emails, attaching invoice
                                  11
                                                 8/21/2016 Email from David Chiu to Mike Rothenberg with Subject: Re:
                                         472
                                  12             Rothenberg Ventures LP Update Letter #1
Northern District of California
 United States District Court




                                  13             Email chain with Amy Huang, Mike Rothenberg and others re: “Re: Rothenberg
                                         477
                                                 Ventures and Archina Capital”
                                  14
                                                 12/17/2015 email from Neil Devani to Mike Rothenberg, cc: Amy Huang, Katie
                                  15             Fanelli, Brandon Farwell, and others re: “DDQ for Rothenberg Ventures 2016
                                         479
                                  16             Fund”, and attachments, including side letter, full reference documents, and
                                                 signature packet
                                  17
                                                 12/29/2015 email from Susan Wan to Neil Devani and Lynne McMillan, cc: Amy
                                         482
                                  18             Huang, Mike Rothenberg, and others re: “Finish Line”, attaching signed documents
                                  19             2/12/2016 email from Neil Devani to Katie Fanelli and others, cc: Lynne McMillan,
                                         483     Mike Rothenberg, Amy Huang and others re: “Finish Line” attaching executed Side
                                  20
                                                 Letter and Subscription Agreement
                                  21
                                                 3/27/2016 email chain involving Mike Rothenberg, Amy Huang, and others re:
                                  22     484     “[Confidential - Do Not Forward] Rothenberg Ventures 2016 Fund - Closing
                                                 Update”
                                  23
                                                 5/10/2016 email from A. Huang to M. Rothenberg re: “Re: Rothenberg Ventures Co-
                                  24     485
                                                 Investment / Kespry Follow-up”
                                  25
                                                 7/25/2016 to 7/26/2016 email chain involving Mike Rothenberg, Amy Huang, and
                                         486
                                  26             Justin Grooms re: “Catch up”

                                  27             5/13/2016 to 8/23/2016 email chain involving Brandon Farwell, Amy Huang, and
                                         488
                                                 others re: “Wire Info”
                                  28
                                                                                  8
                                       Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 9 of 16




                                        TRIAL
                                   1                                   DESCRIPTION OF REDACTED EXHIBIT
                                       EXHIBIT
                                   2     489     8/21/2016 email re: “Rothenberg Ventures LP Update Letter #1”
                                   3
                                                 8/27/2016 email from Amy Huang to Mike Rothenberg and others re: “Archina's
                                         490
                                   4             Capital Request”

                                   5             RV 2016 Feeder Fund LP Subscription Agreement and Investor Questionnaire
                                         500
                                                 unsigned, received by Korea Investment Partners
                                   6
                                         502     Rothenberg Ventures PowerPoint deck received by Korean Investment Partners
                                   7

                                   8     504     Suite Experience Group records

                                   9     530     Email from Tommy Leep re: Angel Island May 10, 2016

                                  10     533     Text Messages
                                  11     535     Name change email - fund II - 5/18/2016
                                  12
Northern District of California




                                         536     Name change email - fund I - 5/18/2016
 United States District Court




                                  13
                                         537     Tommy Leep response to Alexa Binns - 11/18/2015
                                  14
                                         540     FFD Email and flyer - 02-17-2014
                                  15
                                                 Fillmore email from Tom Leep to Tommy Leep re: cost with signed contracts -
                                  16     542
                                                 2/28/2014
                                  17     543     Consulting agreement - 2/1/2014
                                  18
                                         549     Pictures from the Fillmore
                                  19
                                         554     November 2015 Fund III PowerPoint
                                  20
                                         555     Fund II PowerPoint with FFD
                                  21
                                         557     FFD Bill 2016
                                  22

                                  23     558     2015 Fund deck

                                  24             3/18/2014 letter from Tri Commercial to Folsom Street Investments attaching
                                         559     Commercial Lease Agreement between Folsom Street Investments LLC and
                                  25             Rothenberg Ventures LLC
                                  26             7/21/2015 to 8/6/2015 email chain involving Mike Rothenberg, Lynne McMillan,
                                         562
                                                 and John Dzida
                                  27

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                                        TRIAL
                                   1                                   DESCRIPTION OF REDACTED EXHIBIT
                                       EXHIBIT
                                   2             9/29/2015 email from Lynne McMillan to Mike Rothenberg re: “Bend Reality/RV
                                   3     567     Mgmt Co Allocation for Sept”, attaching “September Bend Reality Allocation.xlsx”
                                                 spreadsheet
                                   4
                                                 11/20/2015 email chain between Lynne McMillan and Mike Rothenberg re: “Year
                                         569
                                   5             End Transactions”
                                   6     572     12/17/2015 email from Mike Rothenberg to Lynne McMillan re: “[Priority] Cash”
                                   7
                                                 5/28/2015 article from Mike Rothenberg to Brandon Farwell re: “Quick few
                                   8     583     questions - please respond”, forwarding email correspondence with Adam Satariano
                                                 at Bloomberg
                                   9
                                                 2/3/2016 email from David Frank to Mike Rothenberg, Lawrence Weisman, and
                                  10             Dominic Polizzotto re: “Super Bowl Invite from Mike: Rothenberg Ventures and
                                         590
                                                 River Studios invite you share our suite at the Super Bowl with GS Warriors All
                                  11
                                                 Stars- Dramond Green and Klay Thomson”
                                  12
Northern District of California




                                                 2/7/2015 email from Tom Leep to Lynne McMillan, cc to Mike Rothenberg re:
 United States District Court




                                         591
                                  13             “Fwd: updated agreement”, attaching three .PDF documents related to Rose Bowl

                                  14             2/7/2015 email chain from Lynne McMillan to Mike Rothenberg re: “updated
                                         592
                                                 agreement”
                                  15
                                                 6/13/2016 Email from Lawrence Weisman, Dominic Polizzotto from David Frank
                                  16
                                         599     re: “Re: Thank you for investing in Rothenberg Ventures” with attachment
                                  17             “IMG_1309.PNG”

                                  18             12/29/2015 Email from Judy Lee to Mike Rothenberg, cc to Jeremiah Nevin re: “RE:
                                         600     SVB LoC secured by cash” with attachment “Rothenberg Ventures 2015 Fund -
                                  19             Operating Agreement.pdf”
                                  20
                                                 8/13/2016 email from Mike Rothenberg to Jonah Loop, Ewan Johnson, Devin
                                         609
                                  21             Horsman, cc to Marin Mayo, Bill Broome re “Rive Studios cap table”

                                  22             8/15/2016 email from Ewan Johnson to Mike Rothenberg, Ewan Johnson re: “Re:
                                         610
                                                 Wire info”
                                  23
                                                 2/17/2017 email from Martin Mayo to Jed Feldman, cc to Mike Rothenberg re: “Re:
                                  24     613
                                                 Robinhood Secondary Sale”
                                  25
                                                 2/22/2017 email chain from Martin Mayo to Ryan Purcell, cc to Mike Rothenberg,
                                         615
                                  26             Steven Baglio, Jed Feldman re: “Robinhood Secondary Sale”

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                                                                                  10
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                                              TRIAL
                                   1                                         DESCRIPTION OF REDACTED EXHIBIT
                                             EXHIBIT
                                   2                   5/11/2017 email from Martin Mayo to Ryan Purcell, Jed Feldman, cc to Mike
                                   3           616     Rothenberg re: “Re: Robinhood” with attachments “Robinhood Markets - Preferred
                                                       Stock Transfer Agreement (RV) (5.9.17)(11).pdf”
                                   4
                                               619     7/2015 Rothenberg Ventures ppt decks
                                   5
                                                       4/20/2016 email from Brandon Farwell to David Chiu, cc to Katie Fanelli, Priscilla
                                   6           631     Won, Neil Devani and Mike Rothenberg re: “Re: Rothenberg Ventures and CY
                                   7                   Capital”

                                   8                   8/13/2016 email from Dominic Polizzotto to Larence Weisman re: “FW: Pilot
                                               632
                                                       Grove/River Studios”
                                   9
                                                       5/11/2016 email from Mike Rothenberg Gmail account to Mike Rothenberg
                                  10           634
                                                       Rothenberg Ventures email account re: “URGENT”
                                  11          1002     Defense Exhibit
                                  12
Northern District of California




                                       II.      Under Seal Trial Exhibits
 United States District Court




                                  13
                                          TRIAL
                                  14                                        DESCRIPTION OF UNDER SEAL EXHIBIT
                                         EXHIBIT
                                  15           33      QuickBooks records for Annual Funds, RVMC, and River Studios
                                  16
                                               62      Silicon Valley Bank statement of account ending 9185, 4/2015 to 9/30/2018
                                  17
                                               63      Silicon Valley Bank statement of account ending 8931, 9/2012 to 4/2018
                                  18
                                               64      Silicon Valley Bank statement of account ending 2623, 9/2012 to 8/2016
                                  19
                                               65      Silicon Valley Bank statement of account ending 7483, 9/52013 to 8/2016
                                  20
                                               66      Silicon Valley Bank statement of account ending 7429, 4/1/2015 to 8/31/2016
                                  21

                                  22           67      Silicon Valley Bank statement of account ending 2235, 7/1/2016 to 2/28/2018

                                  23           68      Silicon Valley Bank statement of account ending 0460, 12/1/2015 to 8/31/2016

                                  24           69      Silicon Valley Bank statement of account ending 3208, 11/18/2013 to 9/30/2018

                                  25           70      Silicon Valley Bank statement of account ending 8720, 4/1/2015 to 7/31/2016
                                  26                   Silicon Valley Bank statement of account ending 7368, 8/22/2013 to 9/30/2016 and
                                               71
                                                       10/1/2016 to 2/28/2016
                                  27

                                  28           72      Silicon Valley Bank statement of account ending 8701, 5/1/2016 to 8/31/2016

                                                                                        11
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                                        TRIAL
                                   1                                 DESCRIPTION OF UNDER SEAL EXHIBIT
                                       EXHIBIT
                                   2      73     Silicon Valley Bank statement of account ending 1827, 7/1/2016 to 7/31/2016
                                   3
                                          74     Silicon Valley Bank statement of account ending 8782, 12/23/2015 to 12/31/2018
                                   4
                                          75     Silicon Valley Bank statement of account ending 8797, 12/29/2015 to 12/31/2018
                                   5
                                          76     Silicon Valley Bank statement of account ending 0574, 12/3/2015 to 7/31/2016
                                   6
                                          77     Silicon Valley Bank statement of account ending 0815, 10/22/2015 to 12/31/2018
                                   7
                                          78     Silicon Valley Bank statement of account ending 2874, 8/28/2014 to 12/31/2018
                                   8

                                   9      79     Silicon Valley Bank statement of account ending 8986, 7/8/2015 to 8/31/2016

                                  10      80     Silicon Valley Bank statement of account ending 7746, 4/25/2014 to 8/31/2016

                                  11      81     Silicon Valley Bank statement of account ending 7731, 4/25/2014 to 8/31/2016
                                  12      82     Silicon Valley Bank statement of account ending 0834, 10/22/2015 to 08/31/2016
Northern District of California
 United States District Court




                                  13      83     Silicon Valley Bank statement of account ending 0555, 12/3/2015 to 08/31/2016
                                  14
                                          84     Silicon Valley Bank statement of account ending 0562, 12/27/2012 to 08/31/2016
                                  15
                                          85     Silicon Valley Bank statement of account ending 7353, 8/31/2013 to 8/31/2016
                                  16
                                          86     Silicon Valley Bank statement of account ending 3272, 10/22/2013 to 8/31/2016
                                  17
                                          87     Silicon Valley Bank statement of account ending 0657, 02/15/2013 to 08/31/2016
                                  18
                                          88     Silicon Valley Bank statement of account ending 8064, 11/16/2012 to 8/31/2016
                                  19

                                  20      89     Silicon Valley Bank statement of account ending 3268, 10/22/2013 to 8/31/2016

                                  21      90     Silicon Valley Bank statement of account ending 3689, 9/1/2016 to 02/28/2018

                                  22      91     Silicon Valley Bank statement of account ending 3693, 5/8/2013 to 8/31/2016

                                  23      92     Silicon Valley Bank statement of account ending 5204, 2/24/2015 to 8/31/2016
                                  24      93     Silicon Valley Bank statement of account ending 6205, 2/13/2013 to 8/31/2016
                                  25      94     Silicon Valley Bank statement of account ending 6224, 2/12/2013 to 8/31/2016
                                  26
                                                 Silicon Valley Bank statement of account for loan ending 7324, 12/31/2015 to
                                          95
                                  27             9/27/2018

                                  28
                                                                                 12
                                       Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 13 of 16




                                        TRIAL
                                   1                                 DESCRIPTION OF UNDER SEAL EXHIBIT
                                       EXHIBIT
                                   2      97     Bank of America statement of account ending 2573, 3/24/2015 to 11/21/2016
                                   3
                                          98     Bank of America statement of account ending 0307, 6/27/2015 to 8/29/2016
                                   4
                                          99     Bank of America statement of account ending 8746, 11/1/2017 to 12/31/2017
                                   5
                                         100     Bank of America statement of account ending 4323, 7/11/2015 to 11/5/2015
                                   6
                                         101     Bank of America statement of account ending 3459, 11/2/2015 to 2/12/2016
                                   7
                                         102     Bank of America statement of account ending 5464, 4/30/2015 to 2/28/2018
                                   8

                                   9     103     Bank of America statement of account ending 8801, 10/1/2017 to 11/30/2017

                                  10     104     Bank of America statement of account ending 0264, 8/7/2017 to 9/30/2018

                                  11     105     Bank of America statement of account ending 0879, 11/1/2017 to 9/30/2018
                                  12     106     Bank of America statement of account ending 1159, 8/20/2016 to 9/8/2018
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                                  13     107     Bank of America statement of account ending 2708, 9/13/2016 to 9/30/2018
                                  14
                                         108     Bank of America statement of account ending 2847, 8/22/2016 to 9/30/2018
                                  15
                                         109     Bank of America statement of account ending 3459, 11/2/2015 to 7/15/2016
                                  16
                                         110     Bank of America statement of account ending 4029 11/7/2016 to 8/6/2018
                                  17
                                         111     Bank of America statement of account ending 5475, 1/1/2014 to 8/31/2018
                                  18
                                                 Bank of America statement for Transcend VR LLC account 4676, 2/24/2016 to
                                  19     112
                                                 2/29/2016
                                  20
                                                 Bank of America statement for Transcend VR LLC account 4676, 2/24/2016 to
                                  21     113     2/29/2016, documenting wire transfer of $2,000,000 to Bend Reality SVB account
                                                 9185
                                  22
                                                 Bank of America record documenting movement of funds to Transcend VR LLC
                                  23     114
                                                 account 4676 from account 9550, 2/25/2016, redacted
                                  24
                                                 Bank of America statement for Pilot Grove Management LLC account 0843,
                                  25     115     6/1/2016 to 6/30/2016, documenting 6/13/2016 wire transfer to 2016 Fund 0815
                                                 account
                                  26
                                         116     Merrill Lynch statement of account ending 6052, 5/31/2014 to 12/31/2014
                                  27
                                         117     Merrill Lynch statement of account ending 6052, 1/1/2015 to 10/30/2015
                                  28
                                                                                 13
                                       Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 14 of 16




                                        TRIAL
                                   1                                 DESCRIPTION OF UNDER SEAL EXHIBIT
                                       EXHIBIT
                                   2     118     American Express records for account ending 9-01004, June 2015 to April 2016
                                   3
                                         119     American Express records for account ending 9-02002, April 2016 to August 2016
                                   4
                                                 American Express records for account ending 9-03000, August 2016 to October
                                         120
                                   5             2016
                                   6             American Express records for account ending 2-84009, December 2014 to
                                         121
                                                 February 2015
                                   7

                                   8             American Express records for account ending 2-84009, February 2015 to October
                                         122
                                                 2016
                                   9
                                                 American Express records for account ending 2-86004, December 2014 to August
                                         123
                                  10             2016
                                  11             American Express records for account ending 2-87002, August 2016 to September
                                         124
                                                 2016
                                  12
Northern District of California
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                                  13             American Express records for account ending 0-22000, August 2016 to September
                                         125
                                                 2016
                                  14
                                                 American Express records for account ending 1-52005 and 1-53003, August 2016
                                         126
                                  15             to September 2016
                                  16             American Express records for account ending 1-54001, October 2015 to August
                                         127
                                                 2016
                                  17

                                  18             American Express records for account ending 1-55008, August 2016 to September
                                         128
                                                 2016
                                  19
                                                 American Express records for account ending 1-53003, December 2014 to October
                                  20     129
                                                 2015
                                  21             American Express records for account ending 1-55008, September 2016 to March
                                         130
                                                 2017
                                  22

                                  23     131     American Express records for accounts ending -3001, -4009, -6004, and -7002

                                  24             Bank of San Francisco statements for account ending 2491, 4/30/2015 to
                                         132
                                                 12/31/2015
                                  25
                                                 Federal Reserve Record (Fedwire) documenting 2/25/2016 transfer of $2,000,000
                                  26     136
                                                 from Transcend VR LLC’s bank account to Bend Reality’s bank account
                                  27             Federal Reserve Record (Fedwire) documenting 7/15/2016 transfer of $1,000,000
                                         137
                                  28             from GHF, Inc. LLC’s bank account to Rothenberg Ventures CoFund

                                                                                 14
                                       Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 15 of 16




                                        TRIAL
                                   1                                  DESCRIPTION OF UNDER SEAL EXHIBIT
                                       EXHIBIT
                                   2             Federal Reserve Record (Fedwire) documenting 7/19/2016 transfer of $100,000
                                         138
                                   3             from Binns Family’s bank account to Rothenberg Ventures CoFund

                                   4             Federal Reserve Record (Fedwire) documenting 7/21/2016 transfer of $50,000
                                         139
                                                 from Konishi’s bank account to Rothenberg Ventures CoFund
                                   5
                                                 Federal Reserve Record (Fedwire) documenting 7/21/2016 transfer of $100,000
                                   6     140
                                                 from Goldberg’s bank account to Rothenberg Ventures CoFund
                                   7
                                                 Federal Reserve Record (Fedwire) documenting 4/6/2015 transfer of $1,250,000
                                         141
                                   8             from Tubus’s bank account to Rothenberg Ventures 2015 Fund

                                   9             Federal Reserve Record (Fedwire) documenting 4/28/2015 transfer of $1,000,000
                                         142
                                                 from GHF Inc.’s bank account to Rothenberg Ventures 2015 Fund
                                  10
                                                 Federal Reserve Record (Fedwire) documenting 7/31/2015 transfer of $1,999,975
                                  11     143
                                                 from HTC Corporation’s bank account to Rothenberg Ventures 2015 Fund
                                  12
Northern District of California




                                                 Federal Reserve Record (Fedwire) documenting 12/17/2015 transfer of $500,000
 United States District Court




                                         144
                                  13             from Dolby Family Ventures LP bank account to Rothenberg Ventures 2016 Fund

                                  14             Federal Reserve Record (Fedwire) documenting 12/24/2015 transfer of $100,000
                                         145
                                                 from Menezes’s bank account to Rothenberg Ventures 2015 Fund
                                  15
                                                 Federal Reserve Record (Fedwire) documenting 12/24/2015 transfer of $625,000
                                  16     146
                                                 from CY Capital’s bank account to Rothenberg Ventures 2016 Fund
                                  17
                                                 Federal Reserve Record (Fedwire) documenting 12/28/2015 transfer of $3,000,000
                                         147
                                  18             from ARChina’s bank account to Rothenberg Ventures 2016 Fund

                                  19             Federal Reserve Record (Fedwire) documenting 7/27/2016 transfer of $1,800,000
                                         148     from Korea Investment Partners’ bank account to Rothenberg Ventures 2016
                                  20             Feeder Fund
                                  21     186     Silicon Valley Bank statement of account ending 7429, 2/1/2016 to 2/29/2016
                                  22
                                                 Dominic Polizzotto travel itinerary, Las Vegas to San Jose to San Francisco to
                                         199
                                  23             Chicago, 2/2/2016 to 2/6/2016, with attachments

                                  24     219     Transcend BofA account statement showing $2 million transfer

                                  25     230     Pilot Grove BofA bank statement showing $600,000 transfer
                                  26     602     Bank of America statement of account ending 2573, 6/25/2012 to 3/23/2015
                                  27
                                         603     Bank of America statement of account ending 2573, 11/22/2016 to 9/20/2018
                                  28
                                                                                  15
                                         Case 4:20-cr-00266-JST Document 362 Filed 01/04/24 Page 16 of 16




                                          TRIAL
                                   1                                    DESCRIPTION OF UNDER SEAL EXHIBIT
                                         EXHIBIT
                                   2        604     Bank of America statement of account ending 5464, 5/1/2015 to 7/31/2015
                                   3
                                            605     Bank of America statement of account ending 5464, 1/1/2016 to 4/30/2016
                                   4
                                            606     Fedwire information, Binns Family LP
                                   5
                                            607     Fedwire information, GHF Inc.
                                   6
                                            617     5/12/2017 SVB transaction details
                                   7
                                            618     American Express, Cardholder Memos
                                   8

                                   9        641     QuickBooks Audit Trail

                                  10

                                  11          IT IS SO ORDERED.
                                  12   Dated: January 3, 2024
Northern District of California
 United States District Court




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                                                                                    ______________________________________
                                  14                                                               JON S. TIGAR
                                                                                             United States District Judge
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